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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                         )
                                               )       CASE NO 19 B 06867 et al
Craig J Noys                                   )
        And Attached list of cases             )
                                               )
                                               )

                         AGREED SUBSTITUTION OF ATTORNEY


   AGREED NOTICE OF SUBSTITUTION OF COUNSEL AND WITHDRAWAL OF
         APPEARANCE OF COUNSEL PURSUANT TO LOCAL RULE 2091-1


PLEASE BE ADVISED THAT PURSUANT TO LOCAL RULE 2091-1 AND BY AGREEMENT OF
PARTIES, Sarah Lentes and Patrick Semrad hereby agree to substitute the appearance of Sarah Lentes for
Patrick Semrad and withdraw the appearance of Sarah Lentes for the above case AND the attached list of
cases, as follows:


COUNSEL APPEARANCE WITHDRAWN:                  COUNSEL SUBSTITUTING AND APPEARING:
Sarah Lentes                                   Patrick Semrad
The Semrad Law Firm, LLC                       The Semrad Law Firm, LLC
20 S Clark 28th Floor                          20 S Clark 28th Floor
Chicago IL 60603                               Chicago IL 60603




**THIS IS A SUBSTITUTION AND APPEARANCE OF COUNSEL AND WITHDRAWAL OF
APPEARANCE OF COUNSEL ON THE ABOVE CAPTIONED CASE AND THE LIST OF
ATTACHED CASES.**

                                               AGREED TO BY BOTH PARTIES:

/s/ Sarah Lentes                                       /s/ Patrick Semrad




RESPECTFULLY SUBMITTED
/s/ Patrick Semrad
The Semrad Law Firm, LLC
20 S. Clark Street, 28th Floor
Chicago IL 60603
312-913-0625
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19-07094        Frederick Anderson                     13
19-07191        Rosharon M Ba                          13
19-07652        Gerrick Franklin                       13
19-07777        Janet Woodard                          13
19-07811        Pakeela Berry                          7
19-07866        Chantanay A. Reynolds                  7
19-07918        Quana M Dorsey                         13
19-08098        Cleavon Profit                         13
19-08322        Jordan A. Wexler                       13
19-08332        Tayana Gardner                         13
19-08378        Robert C Harrison and Fannie M. White 13
19-08660        Lovisa Davis                           13
19-08991        Cynthia Streeter                       13
19-09197        Barbara A Mosley                       13
19-09561        Keren Richardson                       13
19-09620        Michael A Cole                         13
19-09643        Jose A. Gonzalez                       13
19-09716        Mary L Lloyd                           13
19-10035        Derrick G. Dunston                     13
19-10146        Mary A. Blackmon                       7
19-10535        David H. Krell                         13
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19-10926        China J. Robinson                      13
19-11043        Rachell A. Rogers                      13
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19-11121        Tyra Taylor                            13
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                Tara Davis-Freeman and Ronald
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19-12228        Kiyanna B. Winters                    13
19-12463        Christopher M. Shorter                13
19-12496        Jessie Hannah                         13
19-12801        Maria A Chromy                        13
19-12934        Ruthie M. Davis                       13
19-13004        Dequana V Collier                     13
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19-13583        Armando Torres and Delia Torres       13
19-13815        Robyn Pondexter                       13
19-13857        Carl Grau                             13
19-13887        Debra Haslett                         13
19-14046        Shemika M Coleman                     13
19-14097        Tabatha Cobb                          13
19-14161        Markesha P White                      13
19-14224        Nancy L Kuyoro                        13
19-14362        Edward Sharkey                        13
19-14805        Azie Abrams                           13
19-15104        Tarhonda Jones                        13
19-15439        Donna M Peters                        13
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19-16212        Karla R Cox                           13
19-16494        John L. Brown                         13
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                Rossie Fortenberry and Kathleen R
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                Fortenberry
19-17021        LaRissa Y. James                      13
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19-17386        Chersari M Jones                    13
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19-18092        Joshua T. Young                     13
19-18354        Corinna Harrison                    13
19-18475        Edgar Montejano-Figueroa            13
19-18554        Dominika N Johnson                  13
19-18575        Gale Deer                           13
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19-18617        Tiffani M. Myvett                   7
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19-21055        Roberto Cruz and Brenda Estrada     13
                Janie B. Ceniceros and Gilberto
19-21214                                            13
                Ceniceros
19-21405        Tracey Harris                       7
                Samantha L. Haney and Michael G.
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                Haney
19-21530        Michael Exson                       7
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19-27153        Victor K. Gaston                       13
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19-28806        Nichelle Foxx-Malcolm                 13
19-28926        Heather M. Staker                     13
19-29064        Jillian Jorgensen                     13
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19-29499        Sherry A Letcher                      7
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19-29773        Angela D. Smith                       13
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19-30461        Myeisha L Wright                      7
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19-30785        Matthew E Palacios                    13
                Mark A. Bagshaw and Shirley M.
19-30927                                              13
                Bagshaw
19-31218        Kimberly Greer                        13
19-31262        Shekeitha C. Thomas                   13
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19-33743        Konicka Sanders                     7
19-33883        Kevin Richmond                      13
19-33960        Jacqueline Hill                     13
19-34055        David Osborne                       7
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                Kenneth L Jackson and Jacqueline
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                Jackson
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20-01219        Edgar A. Burkel                     13
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